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                           ‭UNITED STATES COURT OF APPEALS‬
                                      ‭FOR THE SIXTH CIRCUIT‬                                               RECEIVED
                                                                                                                 8/26/2024
                                   ‭CASE NOS. 23-5795 and 23-6108‬                                  KELLY L. STEPHENS, Clerk


                     ‭HONORABLE ORDER OF KENTUCKY COLONELS, INC.‬
                                                   ‭Plaintiff-Appellee‬
                                                              ‭v.‬
         ‭KENTUCKY COLONELS INTERNATIONAL; GLOBCAL INTERNATIONAL;‬
                  ‭ECOLOGY CROSSROADS COOPERATIVE FOUNDATION, INC.‬
                                                 ‭Defendants in Default‬
                                                         ‭— and —‬
                        ‭COL. DAVID J. WRIGHT, A KENTUCKY COLONEL‬
                          ‭Individually and on behalf of similarly titled individuals,‬
                                                 ‭Defendant-Appellant‬


                   ‭DEFENDANT-APPELLANT RESPONSE IN OPPOSITION TO‬
                      ‭APPELLEE’S SUPPLEMENTAL MOTION TO DISMISS‬
                 ‭CONSOLIDATED APPEALS & MOTION TO LIFT ABEYANCE‬


         ‭Comes‬ ‭now,‬ ‭(Col.)‬ ‭David‬ ‭J.‬‭Wright‬ ‭,‬‭a‬‭Kentucky‬‭Colonel‬‭("Wright"‬‭or‬‭"Appellant"),‬‭pro‬‭se‬

‭and‬‭in‬‭forma‬‭pauperis‬‭,‬‭sole‬‭Defendant-Appellant‬‭in‬‭the‬‭matter‬‭of‬‭[The]‬‭Honorable‬‭Order‬‭of‬‭Kentucky‬

‭Colonels,‬ ‭Inc.‬    ‭v.‬ ‭Kentucky‬ ‭Colonels‬‭International,‬‭et‬‭al.‬ ‭.‬‭This‬‭matter‬‭has‬‭been‬‭admitted‬‭to‬‭the‬

‭Sixth‬ ‭Circuit‬ ‭Court‬ ‭of‬ ‭Appeals‬ ‭as‬ ‭Case‬ ‭Nos.‬ ‭23-5795‬ ‭and‬ ‭23-6108‬‭.‬ ‭Appellant‬ ‭seeks‬ ‭to‬ ‭appeal‬ ‭from‬

‭Western‬ ‭Kentucky‬ ‭District‬ ‭Court‬ ‭Cases‬ ‭3:20-cv-00132‬ ‭and‬ ‭3:23-cv-0043‬‭.‬ ‭This‬ ‭appeal‬ ‭is‬ ‭being‬ ‭made‬

‭good-faith pursuant to Federal Rules of Appellate Procedure 2, 3, 4, 8, 18, 24, 26, 27, 44, and 48.‬

         ‭In‬ ‭its‬ ‭supplemental‬ ‭motion‬ ‭to‬ ‭dismiss‬ ‭the‬ ‭cases‬‭,‬ ‭the‬ ‭Appellee‬ ‭presents‬ ‭inconsequential‬ ‭and‬

‭immaterial‬‭arguments‬‭that‬‭lack‬‭substantial‬‭factual‬‭support‬‭or‬‭legal‬‭merit.‬‭The‬‭Plaintiff-Appellee‬‭is‬‭trying‬

‭to‬‭tamp‬‭down‬ ‭and‬‭cover-up‬‭critical‬‭evidence‬‭it‬‭does‬‭not‬‭want‬‭revealed‬‭to‬‭the‬‭Circuit‬‭Court‬‭that‬‭should‬

‭have‬‭been‬‭considered‬‭by‬‭the‬‭District‬‭Court‬‭which‬‭will‬‭be‬‭exposed‬‭upon‬‭de‬‭novo‬‭review.‬‭Requesting‬‭the‬
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‭Circuit‬ ‭Court‬ ‭to‬ ‭refrain‬ ‭from‬ ‭hearing‬ ‭an‬‭appeal‬‭based‬‭on‬‭inconsequential‬‭arguments‬‭by‬‭an‬‭Appellee‬‭is‬

‭tantamount‬ ‭to‬ ‭asking‬ ‭it‬ ‭to‬ ‭abdicate‬ ‭its‬ ‭duty‬ ‭to‬ ‭serve‬ ‭the‬ ‭public‬ ‭and‬ ‭fulfill‬ ‭its‬ ‭intended‬ ‭purpose‬ ‭as‬ ‭an‬

‭arbiter of justice.‬

          ‭The‬‭Appellant‬‭duly‬‭asserts‬‭that‬‭the‬‭Western‬‭Kentucky‬‭District‬‭Court‬‭failed‬‭to‬‭provide‬‭procedural‬

‭safeguards‬‭guaranteed‬‭by‬‭the‬‭Federal‬‭Rules‬‭of‬‭Civil‬‭Procedure,‬‭the‬‭US‬‭Constitution,‬‭the‬‭Commonwealth‬

‭of‬ ‭Kentucky,‬ ‭and‬ ‭more‬ ‭recently‬ ‭the‬ ‭Federal‬ ‭Rules‬ ‭of‬‭Appellate‬‭Procedure,‬‭especially‬‭regarding‬‭notice‬

‭and the opportunity to be heard and have his position treated with equitable consideration.‬

          ‭Defendant-Appellant‬ ‭Wright,‬ ‭hereby‬ ‭responds‬ ‭in‬ ‭opposition‬ ‭to‬ ‭Plaintiff-Appellee,‬ ‭the‬

‭Appellee’s‬ ‭Supplemental‬ ‭Motion‬ ‭to‬ ‭Dismiss‬ ‭the‬ ‭consolidated‬ ‭appeals‬ ‭and‬ ‭moves‬ ‭this‬‭Court‬‭to‬‭lift‬‭the‬

‭abeyance currently placed on these appeals. In support thereof, Appellant states as follows:‬

     ‭1.‬ ‭Appellee’s‬‭Supplemental‬‭Motion‬‭to‬‭Dismiss‬‭is‬‭based‬‭on‬‭the‬‭faulty‬‭premise‬‭that‬‭this‬‭Court‬‭should‬

          ‭exercise‬ ‭its‬ ‭discretion‬ ‭to‬ ‭dismiss‬ ‭Appellant’s‬ ‭appeals‬ ‭due‬ ‭to‬ ‭his‬ ‭alleged‬ ‭non-compliance‬ ‭with‬

          ‭post-judgment‬ ‭discovery‬ ‭orders‬ ‭in‬ ‭the‬‭District‬‭Court‬‭made‬‭following‬‭his‬‭first‬‭Notice‬‭of‬‭Appeal‬

          ‭since the jurisdiction of the case has been with the US Circuit Court.‬

     ‭2.‬ ‭The‬ ‭recent‬ ‭decision‬ ‭by‬ ‭this‬ ‭Court‬ ‭to‬ ‭dismiss‬ ‭the‬ ‭case‬ ‭against‬ ‭the‬ ‭“Corporate‬ ‭Defendants‬ ‭in‬

          ‭default”‬ ‭Case‬ ‭24-5511‬ ‭has‬ ‭no‬‭bearing‬‭on‬‭the‬‭merits‬‭of‬‭Appellant’s‬‭necessity‬‭to‬‭pursue‬‭his‬‭civil‬

          ‭rights‬ ‭on‬ ‭appeal‬ ‭or‬‭desire‬‭to‬‭appeal,‬‭nor‬‭the‬‭inexcusable‬‭errors‬‭made‬‭by‬‭both‬‭the‬‭District‬‭Court‬

          ‭and the Appellee’s claims of continued infringement as contempt.‬

     ‭3.‬ ‭The‬‭Appellee's‬‭supplemental‬‭motion‬‭attempts‬‭to‬‭distract‬‭from‬‭the‬‭core‬‭issues‬‭at‬‭hand:‬‭the‬‭District‬

          ‭Court’s‬‭misapplication‬‭of‬‭the‬‭law,‬‭its‬‭lack‬‭of‬‭insight‬‭considering‬‭credible‬‭evidence,‬‭its‬‭reliance‬‭on‬

          ‭a‬ ‭vacated‬ ‭injunction,‬ ‭its‬ ‭lack‬ ‭of‬ ‭judicial‬ ‭restraint‬ ‭over‬ ‭the‬ ‭defendant,‬ ‭judicial‬ ‭bias,‬ ‭and‬ ‭the‬

          ‭Appellee’s‬ ‭hubris‬ ‭continued‬ ‭pattern‬ ‭of‬ ‭bad‬ ‭faith‬ ‭litigation‬ ‭tactics‬ ‭that‬ ‭seek‬ ‭to‬ ‭quell‬ ‭the‬

          ‭Appellant’s civil and constitutional rights.‬

     ‭4.‬ ‭Furthermore,‬‭Appellant‬‭has‬‭consistently‬‭sought‬‭to‬‭resolve‬‭this‬‭matter‬‭amicably,‬‭as‬‭evidenced‬‭by‬

          ‭his‬ ‭email‬ ‭to‬ ‭Appellee’s‬ ‭counsel‬ ‭on‬ ‭August‬ ‭12,‬ ‭2024,‬ ‭(Submitted‬ ‭by‬ ‭Appellee‬ ‭as‬ ‭an‬ ‭Exhibit‬

          ‭contained‬‭in‬‭Document‬‭28,‬‭Page‬‭13‬‭)‬‭expressing‬‭a‬‭willingness‬‭to‬‭discuss‬‭a‬‭potential‬‭purchase‬‭of‬


                                                                 ‭—‬‭2‬‭—‬
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        ‭his‬ ‭rights,‬ ‭development‬ ‭ideas‬ ‭presented‬ ‭in‬ ‭January‬ ‭2020,‬ ‭intangible‬ ‭assets,‬ ‭and‬ ‭intellectual‬

        ‭property rights as the creator of the first website titled Kentucky Colonels in 1998.‬

    ‭5.‬ ‭The‬‭abeyance‬‭caused‬‭by‬‭the‬‭Appellee’s‬‭Motions‬‭to‬‭Dismiss‬‭these‬‭appeals‬‭is‬‭hindering‬‭the‬‭prompt‬

        ‭resolution of these critical issues and is causing undue prejudice to Appellant.‬


                                                     ‭ARGUMENT‬
 ‭I.‬   ‭The District Court’s Errors Warrant Appellate Review‬

        ‭A.‬ ‭The‬ ‭District‬ ‭Court’s‬ ‭reliance‬ ‭on‬ ‭a‬ ‭vacated‬ ‭preliminary‬ ‭injunction‬ ‭tainted‬ ‭with‬ ‭judicial‬ ‭bias‬

            ‭based‬ ‭on‬ ‭the‬ ‭“lock-in‬ ‭effect”‬‭to‬‭levy‬‭sanctions‬‭and‬‭issue‬‭contempt‬‭orders‬‭is‬‭a‬‭clear‬‭error‬‭of‬

            ‭law that necessitates appellate review.‬

        ‭B.‬ ‭The‬ ‭District‬ ‭Court’s‬ ‭and‬ ‭the‬ ‭Appellee’s‬ ‭failure‬ ‭to‬ ‭acknowledge‬ ‭fraudulently‬ ‭concealed‬

            ‭relevant and judicially noticeable facts is based in deference to the plaintiff and judicial bias.‬

        ‭C.‬ ‭The‬ ‭District‬ ‭Court’s‬ ‭failure‬‭to‬‭acknowledge‬‭the‬‭Defendant‬‭as‬‭a‬‭civil‬‭rights‬‭litigant,‬‭member‬

            ‭of‬ ‭the‬ ‭Plaintiff-Appellee’s‬ ‭organization,‬ ‭independent‬ ‭organizer,‬ ‭and‬ ‭as‬ ‭a‬ ‭whistleblower‬

            ‭necessitates appellate review.‬

        ‭D.‬ ‭The‬‭District‬‭Court’s‬‭failure‬‭to‬‭recognize‬‭the‬‭Plaintiff’s‬‭second‬‭lawsuit‬‭as‬‭a‬‭SLAPP‬‭action‬‭or‬

            ‭hear‬ ‭the‬ ‭Defendant’s‬ ‭motions‬ ‭in‬ ‭a‬ ‭timely‬ ‭fashion‬‭prior‬‭to‬‭holding‬‭a‬‭hearing‬‭demonstrates‬‭a‬

            ‭lack of due process and consideration as an equitable party.‬

        ‭E.‬ ‭The‬‭District‬‭Court’s‬‭failure‬‭to‬‭provide‬‭the‬‭negotiated‬‭equity‬‭of‬‭the‬‭court‬‭mediated‬‭settlement‬

            ‭agreement on prejudicial premises to the Appellant must be addressed.‬

‭II.‬   ‭The‬‭District‬‭Court’s‬‭Memorandum‬‭Opinion‬‭dated‬‭August‬‭9,‬‭2023,‬‭explicitly‬‭references‬‭the‬

        ‭“preliminary‬ ‭injunction”‬ ‭instead‬ ‭and‬ ‭in‬ ‭place‬ ‭of‬ ‭the‬ ‭applicable‬ ‭(equitable)‬ ‭“permanent‬

        ‭injunction,”‬ ‭demonstrating‬ ‭a‬ ‭fundamental‬ ‭misunderstanding‬ ‭of‬ ‭the‬ ‭case's‬ ‭procedural‬

        ‭history‬ ‭and‬ ‭biased‬ ‭position‬ ‭and‬ ‭belief‬ ‭that‬ ‭the‬ ‭Appellant‬ ‭is‬ ‭at‬ ‭fault‬ ‭of‬ ‭contempt.‬ ‭The‬

        ‭equivocal,‬‭erroneous‬‭and‬‭faulty‬‭assumption‬‭that‬‭the‬‭(6‬‭stipulation)‬‭permanent‬‭injunction‬‭was‬

        ‭the‬‭same‬‭as‬‭the‬‭(4‬‭stipulation)‬‭preliminary‬‭injunction‬‭by‬‭Judge‬‭Rebecca‬‭Grady‬‭Jennings‬‭is‬


                                                            ‭—‬‭3‬‭—‬
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         ‭an‬‭egregious‬‭and‬‭serious‬‭error‬‭that‬‭has‬‭caused‬‭great‬‭damage‬‭and‬‭injury‬‭to‬‭the‬‭Appellant.‬‭This‬

         ‭error‬ ‭alone‬ ‭of‬ ‭“mistaken‬ ‭reliance‬ ‭on‬ ‭the‬ ‭wrong‬‭injunction”‬‭provides‬‭sufficient‬‭grounds‬‭for‬‭this‬

         ‭Court‬ ‭to‬ ‭overturn‬ ‭the‬ ‭District‬ ‭Court’s‬ ‭rulings,‬ ‭irrespective‬ ‭of‬ ‭any‬‭alleged‬‭non-compliance‬‭with‬

         ‭post-judgment discovery.‬

‭III.‬   ‭Appellant’s Status and Location Do Not Negate His Right to Appeal‬

         ‭A.‬ ‭Appellee‬‭contends‬‭that‬‭Appellant’s‬‭alleged‬‭residence‬‭in‬‭Venezuela‬‭and‬‭pro‬‭se‬‭status‬‭limit‬‭the‬

             ‭District Court’s ability to impose sanctions, thereby necessitating dismissal of the appeals.‬

         ‭B.‬ ‭This‬ ‭argument‬‭is‬‭flawed.‬‭Appellant’s‬‭location‬‭or‬‭pro‬‭se‬‭status‬‭does‬‭not‬‭diminish‬‭his‬‭right‬‭to‬

             ‭appeal adverse rulings, especially when those rulings are based on clear errors of law.‬

         ‭C.‬ ‭This‬‭Court‬‭has‬‭the‬‭authority‬‭to‬‭fashion‬‭appropriate‬‭relief,‬‭including‬‭remanding‬‭the‬‭case‬‭with‬

             ‭instructions to the District Court to correct its errors.‬

‭IV.‬    ‭Appellant’s Financial Circumstances Do Not Negate His Right to Appeal‬

         ‭A.‬ ‭Appellee‬ ‭implies‬ ‭that‬ ‭Appellant’s‬ ‭limited‬ ‭financial‬ ‭resources‬ ‭and‬ ‭the‬ ‭dissolution‬ ‭or‬

             ‭suspension‬ ‭of‬ ‭his‬ ‭nonprofit‬ ‭businesses‬ ‭due‬ ‭to‬ ‭Appellee’s‬ ‭solopist‬ ‭actions‬ ‭(resulting‬ ‭in‬

             ‭favorable judgments) somehow justify dismissing his appeals.‬

         ‭B.‬ ‭This‬‭argument‬‭is‬‭unjust‬‭and‬‭contrary‬‭to‬‭the‬‭principles‬‭of‬‭equal‬‭access‬‭to‬‭justice.‬ ‭Appellant's‬

             ‭financial‬ ‭hardship,‬ ‭exacerbated‬ ‭by‬ ‭Appellee's‬ ‭conduct,‬ ‭should‬ ‭not‬ ‭deprive‬ ‭him‬ ‭of‬ ‭the‬

             ‭opportunity to seek redress for the District Court's clear errors of law or any other errors.‬

         ‭C.‬ ‭This‬ ‭Court‬ ‭has‬ ‭the‬ ‭authority‬ ‭to‬ ‭fashion‬ ‭equitable‬ ‭relief‬ ‭that‬ ‭accounts‬ ‭for‬ ‭Appellant’s‬

             ‭circumstances,‬‭including‬‭remanding‬‭the‬‭case‬‭with‬‭instructions‬‭to‬‭the‬‭District‬‭Court‬‭to‬‭correct‬

             ‭its errors and consider the impact of its rulings on Appellant's livelihood and career.‬

  ‭V.‬   ‭Appellee’s Claims of Contempt are Misplaced and Premature‬

         ‭A.‬ ‭Appellee’s‬ ‭assertions‬ ‭that‬ ‭Appellant‬ ‭is‬ ‭in‬ ‭contempt‬ ‭of‬ ‭court‬ ‭for‬ ‭failing‬ ‭to‬ ‭follow‬

             ‭post-judgment discovery orders are both misplaced and premature.‬



                                                          ‭—‬‭4‬‭—‬
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         ‭B.‬ ‭The propriety of those discovery orders is itself at issue in these appeals.‬

         ‭C.‬ ‭It‬ ‭is‬ ‭inappropriate‬ ‭to‬ ‭seek‬ ‭dismissal‬ ‭of‬ ‭the‬ ‭appeals‬ ‭based‬ ‭on‬ ‭alleged‬ ‭non-compliance‬ ‭with‬

              ‭orders that may ultimately be overturned or modified by this Court.‬

 ‭VI.‬   ‭Dismissal is an Extreme Sanction that is Not Warranted Here‬

         ‭A.‬ ‭Dismissal‬ ‭of‬ ‭an‬ ‭appeal‬ ‭is‬ ‭a‬ ‭drastic‬ ‭sanction‬ ‭that‬ ‭should‬ ‭be‬‭reserved‬‭for‬‭the‬‭most‬‭egregious‬

              ‭cases of misconduct or contumacious behavior. See Fed. R. App. P. 3(a)(2).‬

         ‭B.‬ ‭Appellant,‬ ‭a‬ ‭Kentucky‬ ‭Colonel,‬ ‭author,‬ ‭and‬ ‭member‬ ‭of‬ ‭the‬ ‭Appellee’s‬ ‭organization,‬ ‭has‬

              ‭consistently‬ ‭sought‬ ‭to‬ ‭vindicate‬ ‭his‬‭rights‬‭and‬‭expose‬‭the‬‭Appellee’s‬‭fraudulent‬‭misconduct‬

              ‭through lawful and transparent means.‬

         ‭C.‬ ‭Any‬‭delays‬‭or‬‭non-compliance‬‭with‬‭discovery‬‭orders‬‭should‬‭be‬‭viewed‬‭in‬‭the‬‭context‬‭of‬‭the‬

              ‭broader‬ ‭issues‬ ‭at‬ ‭stake‬ ‭in‬ ‭these‬ ‭appeals,‬ ‭including‬ ‭the‬ ‭District‬ ‭Court’s‬ ‭errors‬ ‭and‬ ‭the‬

              ‭Appellee’s‬‭questionable‬‭litigation‬‭tactics.‬‭They‬‭can‬‭also‬‭be‬‭viewed‬‭as‬‭the‬‭Appellant's‬‭exercise‬

              ‭of his right to civil disobedience to protect his rights on Appeal.‬

‭VII.‬   ‭Appellant's‬ ‭willingness‬ ‭to‬ ‭engage‬ ‭in‬ ‭equitable‬ ‭settlement‬ ‭discussions‬ ‭for‬ ‭his‬ ‭intellectual‬

         ‭property‬‭and‬‭publishing‬‭rights‬‭in‬‭question‬‭further‬‭demonstrates‬‭his‬‭good‬‭faith‬‭efforts‬‭to‬‭resolve‬

         ‭this matter without protracted litigation or additional expense to the parties.‬


                                                      ‭DISCUSSION‬
         ‭The‬ ‭Circuit‬ ‭Court‬ ‭must‬ ‭acknowledge‬ ‭that‬ ‭in‬ ‭a‬ ‭scenario‬ ‭where‬ ‭a‬ ‭case‬ ‭involving‬ ‭a‬ ‭preliminary‬

‭injunction‬ ‭transitions‬ ‭to‬ ‭a‬‭court-mediated‬‭settlement‬‭conference‬‭presided‬‭over‬‭by‬‭a‬‭different‬‭judge‬‭and‬

‭subsequently‬ ‭reverts‬ ‭to‬ ‭the‬ ‭original‬ ‭judge‬ ‭for‬ ‭the‬ ‭entry‬ ‭of‬ ‭an‬ ‭Agreed‬ ‭Permanent‬ ‭Injunction‬ ‭and‬ ‭an‬

‭Agreed‬‭Dismissal‬‭Order,‬‭it‬‭is‬‭imperative‬‭for‬‭the‬‭original‬‭judge‬‭to‬‭maintain‬‭an‬‭impartial‬‭perspective‬‭that‬

‭upholds‬‭the‬‭principles‬‭of‬‭fairness,‬‭equity,‬‭and‬‭adherence‬‭to‬‭the‬‭entirety‬‭of‬‭the‬‭agreed-upon‬‭terms‬‭reached‬

‭during‬ ‭the‬ ‭settlement‬ ‭process.‬ ‭Furthermore,‬ ‭the‬ ‭original‬ ‭judge‬ ‭should‬ ‭exercise‬ ‭considerable‬ ‭judicial‬

‭restraint,‬ ‭in‬ ‭contrast‬ ‭to‬ ‭the‬ ‭original‬ ‭biased‬ ‭decision‬‭to‬‭impose‬‭the‬‭preliminary‬‭injunction.‬‭Probably‬‭the‬

‭most‬ ‭significant‬ ‭error‬ ‭or‬ ‭perhaps,‬ ‭misstep‬ ‭of‬ ‭the‬ ‭District‬ ‭Court‬ ‭judge‬ ‭was‬ ‭to‬‭discretionarily‬‭re-open‬‭a‬



                                                             ‭—‬‭5‬‭—‬
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‭closed‬ ‭case‬ ‭that‬ ‭was‬ ‭settled‬ ‭by‬ ‭another‬ ‭judge‬ ‭in‬ ‭a‬ ‭court-mediated‬ ‭confidential‬ ‭settlement‬ ‭conference‬

‭without‬ ‭reviewing‬ ‭the‬ ‭Plaintiff’s‬ ‭original‬ ‭complaint‬ ‭and‬ ‭the‬ ‭Defendant’s‬ ‭Answer‬ ‭and‬ ‭Affirmative‬

‭Defenses, or understanding the case immediately leading to settlement.‬

    ‭1.‬ ‭Respect for the Settlement Agreement:‬

       ‭a.‬ ‭The‬ ‭judge‬ ‭should‬ ‭recognize‬ ‭that‬ ‭the‬ ‭final‬ ‭Agreed‬ ‭Permanent‬ ‭Injunction‬ ‭represents‬ ‭a‬

            ‭compromise reached by both parties.‬

       ‭b.‬ ‭The‬ ‭judge‬ ‭should‬ ‭avoid‬ ‭unilaterally‬ ‭modifying‬ ‭or‬ ‭imposing‬ ‭terms‬ ‭that‬ ‭deviate‬ ‭from‬ ‭the‬

            ‭settlement‬ ‭agreement‬ ‭or‬ ‭conference,‬ ‭unless‬ ‭there‬ ‭are‬ ‭compelling‬ ‭reasons‬‭to‬‭do‬‭so,‬‭such‬‭as‬‭a‬

            ‭change in circumstances or a clear violation of public policy.‬

       ‭c.‬ ‭Any‬‭concerns‬‭about‬‭the‬‭fairness‬‭or‬‭implications‬‭of‬‭the‬‭agreement‬‭should‬‭have‬‭been‬‭addressed‬

            ‭during‬‭the‬‭settlement‬‭conference‬‭before‬‭the‬‭second‬‭judge,‬‭not‬‭after‬‭the‬‭fact‬‭of‬‭the‬‭confidential‬

            ‭settlement conference.‬

    ‭2.‬ ‭Focus on Enforceability and Compliance:‬

       ‭a.‬ ‭The‬‭primary‬‭role‬‭of‬‭the‬‭judge‬‭at‬‭this‬‭stage‬‭is‬‭to‬‭ensure‬‭that‬‭the‬‭terms‬‭of‬‭the‬‭Agreed‬‭Permanent‬

            ‭Injunction are clear, enforceable, and capable of being monitored for compliance.‬

       ‭b.‬ ‭The‬ ‭judge‬ ‭should‬ ‭be‬ ‭willing‬ ‭to‬ ‭provide‬ ‭guidance‬ ‭or‬‭clarifications‬‭if‬‭there‬‭are‬‭ambiguities‬‭in‬

            ‭the‬‭agreement,‬‭but‬‭should‬‭avoid‬‭reopening‬‭negotiations,‬‭the‬‭case,‬‭showing‬‭favor‬‭for‬‭one‬‭of‬‭the‬

            ‭parties, or altering the core terms.‬

       ‭c.‬ ‭The‬ ‭judge‬ ‭should‬ ‭be‬ ‭willing‬ ‭to‬ ‭guide‬ ‭the‬ ‭parties‬ ‭to‬ ‭preserve‬ ‭the‬ ‭integrity‬ ‭of‬ ‭the‬ ‭Agreed‬

            ‭Permanent Injunction with the‬‭status quo‬‭it originally‬‭created for over the course of 2 years.‬

    ‭3.‬ ‭Due Process and Fairness:‬

       ‭a.‬ ‭The‬‭judge‬‭should‬‭continue‬‭to‬‭afford‬‭both‬‭parties‬‭due‬‭process,‬‭including‬‭the‬‭opportunity‬‭to‬‭be‬

            ‭heard‬‭as‬‭an‬‭equally‬‭engaged‬‭and‬‭invested‬‭party‬‭on‬‭any‬‭issues‬‭related‬‭to‬‭the‬‭implementation‬‭or‬

            ‭enforcement of the injunction.‬



                                                            ‭—‬‭6‬‭—‬
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       ‭b.‬ ‭Even‬ ‭though‬ ‭the‬ ‭injunction‬ ‭is‬ ‭based‬ ‭on‬ ‭an‬ ‭agreement,‬ ‭the‬ ‭judge‬ ‭should‬ ‭remain‬ ‭vigilant‬ ‭in‬

           ‭ensuring‬ ‭that‬ ‭its‬ ‭terms‬ ‭are‬ ‭not‬ ‭unduly‬ ‭harsh,‬ ‭oppressive,‬ ‭or‬ ‭contrary‬ ‭to‬ ‭the‬ ‭principles‬ ‭of‬

           ‭equity‬‭that were negotiated.‬

       ‭c.‬ ‭If‬ ‭there‬ ‭are‬ ‭allegations‬ ‭of‬ ‭non-compliance‬ ‭or‬ ‭a‬ ‭request‬ ‭for‬ ‭modification,‬ ‭the‬ ‭judge‬ ‭should‬

           ‭conduct a fair and impartial hearing to gather evidence and make an informed decision.‬

    ‭4.‬ ‭Equity and Balancing of Interests:‬

       ‭a.‬ ‭The‬ ‭judge‬ ‭should‬ ‭recognize‬ ‭that‬ ‭the‬ ‭Agreed‬ ‭Permanent‬ ‭Injunction,‬ ‭by‬ ‭its‬ ‭nature,‬ ‭reflects‬ ‭a‬

           ‭balancing of the interests of both parties.‬

       ‭b.‬ ‭The‬ ‭judge‬ ‭should‬ ‭avoid‬ ‭favoring‬ ‭one‬ ‭party‬ ‭over‬ ‭the‬ ‭other‬ ‭in‬ ‭interpreting‬ ‭or‬ ‭enforcing‬ ‭the‬

           ‭injunction no matter the situation or circumstance.‬

       ‭c.‬ ‭If‬‭circumstances‬‭change‬‭significantly‬‭after‬‭the‬‭settlement,‬‭the‬‭judge‬‭may‬‭consider‬‭modifying‬

           ‭the‬‭injunction‬‭to‬‭maintain‬‭the‬‭intended‬‭balance‬‭of‬‭equities‬‭,‬‭but‬‭only‬‭after‬‭a‬‭proper‬‭hearing‬

           ‭and with due regard for the original intent of the agreement.‬

    ‭5.‬ ‭Judicial Restraint:‬

       ‭a.‬ ‭The‬‭judge‬‭should‬‭exercise‬‭judicial‬‭restraint‬‭and‬‭avoid‬‭second-guessing‬‭the‬‭decisions‬‭made‬‭by‬

           ‭another judge with the parties during the settlement process.‬

       ‭b.‬ ‭The‬ ‭judge‬ ‭should‬ ‭not‬ ‭impose‬ ‭or‬ ‭misinterpret‬ ‭the‬ ‭settlement‬ ‭with‬ ‭their‬ ‭own‬ ‭judicial‬ ‭views,‬

           ‭opinion, or mindset on what would have been a "better" or "fairer" agreement.‬

       ‭c.‬ ‭The‬‭judge's‬‭only‬‭role‬‭is‬‭to‬‭uphold‬‭the‬‭integrity‬‭of‬‭the‬‭settlement‬‭and‬‭ensure‬‭that‬‭its‬‭terms‬‭are‬

           ‭implemented in a just and equitable manner.‬

        ‭In‬ ‭essence,‬ ‭the‬ ‭judge's‬ ‭perspective‬ ‭should‬ ‭have‬ ‭been‬ ‭one‬ ‭of‬ ‭neutrality,‬ ‭respect‬ ‭for‬ ‭the‬ ‭parties'‬

‭autonomy,‬‭and‬‭a‬‭commitment‬‭to‬‭upholding‬‭the‬‭principles‬‭of‬‭fairness‬‭and‬‭equity‬‭within‬‭the‬‭framework‬‭of‬

‭the‬ ‭Settlement‬ ‭Conference,‬ ‭Agreed‬ ‭Permanent‬ ‭Injunction,‬ ‭and‬ ‭the‬ ‭Agreed‬ ‭Dismissal‬ ‭Order‬ ‭with‬

‭prejudice.‬ ‭The‬ ‭District‬ ‭Court‬ ‭judge‬ ‭was‬ ‭not‬ ‭familiar‬ ‭with‬ ‭the‬ ‭context‬ ‭of‬ ‭the‬ ‭“Confidential‬



                                                             ‭—‬‭7‬‭—‬
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‭Court-Mediated‬ ‭Settlement‬ ‭Conference”‬ ‭and‬ ‭was‬ ‭misguided‬ ‭by‬ ‭the‬ ‭Plaintiff’s‬ ‭alarming‬ ‭and‬ ‭extreme‬

‭SLAPP action presented on January 25, 2023 which refuted the Defendant’s equitable standing.‬

    ‭6.‬ ‭Lifting the Abeyance is Necessary for Prompt and Efficient Resolution‬

        ‭a.‬ ‭The‬ ‭current‬ ‭abeyance‬ ‭is‬ ‭impeding‬ ‭the‬ ‭timely‬ ‭resolution‬ ‭of‬ ‭these‬ ‭appeals‬ ‭and‬ ‭is‬ ‭causing‬

            ‭prejudice to Appellant by delaying the adjudication of his claims.‬

‭Fed.‬ ‭R.‬ ‭App.‬ ‭P.‬ ‭2‬ ‭empowers‬ ‭this‬ ‭Court‬ ‭to‬ ‭suspend‬ ‭any‬ ‭provision‬ ‭of‬ ‭the‬ ‭Federal‬ ‭Rules‬ ‭of‬ ‭Appellate‬

‭Procedure‬‭in‬‭the‬‭interest‬‭of‬‭expediting‬‭decision‬‭or‬‭for‬‭other‬‭good‬‭cause.‬‭Lifting‬‭the‬‭abeyance‬‭will‬‭allow‬

‭these‬ ‭appeals‬ ‭to‬ ‭proceed‬ ‭on‬ ‭their‬ ‭merits,‬ ‭ensuring‬ ‭a‬ ‭just‬ ‭and‬ ‭efficient‬ ‭resolution‬ ‭of‬ ‭the‬ ‭underlying‬

‭disputes including fraud upon the court and fraudulent concealment by the Appellee before the court.‬


                                         ‭CONCLUSION AND PRAYER‬
         ‭For‬ ‭the‬ ‭foregoing‬ ‭reasons,‬ ‭and‬ ‭to‬ ‭prevent‬ ‭further‬ ‭harm‬ ‭to‬ ‭the‬ ‭civil‬ ‭rights,‬ ‭privileges,‬ ‭and‬

‭responsibilities of Defendant-Appellant, Col. David J. Wright, he respectfully requests that this Court:‬

    ‭●‬ ‭Deny Appellee’s Supplemental Motion to Dismiss.‬

    ‭●‬ ‭Stay‬‭the‬‭agreed‬‭permanent‬‭injunction‬‭and‬‭the‬‭consequential‬‭orders‬‭of‬‭the‬‭US‬‭District‬‭Court‬‭since‬

         ‭August‬ ‭9,‬ ‭2023‬ ‭with‬ ‭6‬ ‭Cir‬ ‭23-5795‬ ‭as‬ ‭previously‬ ‭requested‬ ‭in‬ ‭Motion‬ ‭to‬ ‭Stay‬ ‭District‬ ‭Court‬

         ‭Judgment Case: Document: 21, Filed on 06/10/2024 Page: 2‬‭.‬

    ‭●‬ ‭Lift the abeyance currently placed on these consolidated appeals.‬

    ‭●‬ ‭Expedite‬ ‭this‬ ‭Appeal‬ ‭as‬‭previously‬‭requested‬‭by‬‭the‬‭Appellant‬‭in‬‭his‬‭Motion‬‭to‬‭Expedite‬‭Case:‬

         ‭23-5795 Document: 24, Filed on 06/20/2024, Page: 12‬‭.‬

    ‭●‬ ‭Place‬ ‭the‬ ‭consolidated‬ ‭matter‬ ‭of‬‭the‬‭combined‬‭cases‬‭23-5795‬‭and‬‭23-6108‬‭back‬‭on‬‭the‬‭active‬

         ‭calendar by‬‭issuing an initial court schedule for‬‭the “Combined Appeal”.‬

    ‭●‬ ‭Allow‬‭this‬‭Consolidated‬‭or‬‭Combined‬‭Appeal‬‭to‬‭proceed‬‭to‬‭a‬‭full‬‭and‬‭fair‬‭hearing‬‭on‬‭the‬‭merits‬

         ‭with‬ ‭the‬ ‭filing‬ ‭of‬ ‭the‬ ‭Appellant’s‬ ‭Appellate‬ ‭Brief‬ ‭which‬ ‭was‬ ‭previously‬ ‭interrupted‬ ‭and‬




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       ‭prevented‬ ‭by‬ ‭Apellee’s‬ ‭Dismissal‬ ‭Motions‬ ‭forcing‬ ‭this‬ ‭matter‬ ‭into‬ ‭abeyance‬ ‭before‬ ‭the‬ ‭matter‬

       ‭was combined by the Circuit Court.‬

   ‭●‬ ‭Change‬ ‭or‬ ‭actualize‬ ‭the‬ ‭caption‬ ‭title‬ ‭of‬ ‭the‬ ‭Combined‬ ‭Matter‬ ‭removing‬ ‭the‬ ‭“corporate‬

       ‭defendants”‬ ‭consistent‬ ‭with‬ ‭the‬ ‭wishes‬ ‭of‬ ‭the‬ ‭only‬ ‭Appellant‬ ‭and‬ ‭the‬ ‭decision‬ ‭of‬ ‭the‬ ‭Circuit‬

       ‭Court‬‭that‬‭the‬‭Appellant‬‭may‬‭not‬‭represent‬‭the‬‭environmental‬‭conservation‬‭organizations‬‭which‬

       ‭were‬ ‭found‬ ‭in‬ ‭default‬ ‭(to‬ ‭be‬ ‭responsible‬‭for‬‭the‬‭actions‬‭of‬‭the‬‭Appellant)‬‭that‬‭are‬‭now‬‭actually‬

       ‭defunct or in administrative dissolution since the Earth Day, April 22, 2024 ruling.‬

   ‭●‬ ‭Recognize‬ ‭the‬ ‭remaining‬ ‭pro-se‬ ‭Appellant‬ ‭as‬ ‭an‬ ‭individual‬ ‭Kentucky‬ ‭Colonel,‬ ‭a‬ ‭civil‬ ‭rights‬

       ‭advocate,‬ ‭goodwill‬ ‭ambassador,‬ ‭a‬ ‭content‬ ‭creator,‬ ‭a‬ ‭publisher,‬ ‭a‬ ‭writer,‬ ‭a‬ ‭webmaster,‬ ‭and‬ ‭a‬

       ‭member‬ ‭(donor‬ ‭and‬ ‭volunteer)‬‭of‬‭the‬‭HOKC‬‭since‬‭1996;‬‭and‬‭as‬‭an‬‭author,‬‭expert,‬‭investigator,‬

       ‭researcher, and whistleblower for civilian and Kentucky colonelcy since January 2020.‬

   ‭●‬ ‭.Grant such other and further relief as this Court deems just and proper.‬


‭Puerto Carreño, Colombia‬
‭Dated: August 26, 2024‬




                                                                      ‭ ol. David J. Wright‬
                                                                      C
                                                                      ‭Kentucky Colonel‬
                                                                       ‭david.wright@colonels.net‬
                                                                        ‭+1 (859) 379-8277‬




                                                          ‭—‬‭9‬‭—‬
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                                           ‭Certificate of Service‬

I‭ hereby certify that on August 26, 2024, I emailed for filing the foregoing appellant motions, responses,‬
 ‭replies, objections, and/or pleadings with attachments to the Clerk of the Court for the United States‬
  ‭Sixth Circuit Court of Appeals using the intake email‬ CA06_Pro_Se_Efiling@ca6.uscourts.gov ‭for‬
   ‭entry by the Court Clerk in the CM/ECF system. I certify that all participants in the case are registered‬
    ‭CM/ECF users and that service will be accomplished by the CM/ECF system once the Circuit Court‬
     ‭Clerk files the document(s) without prejudice to the Appellee.‬

‭ elly L. Stephens, Clerk‬
K
‭Sixth Circuit Court of Appeals‬
 ‭501 Potter Stewart U.S. Courthouse‬
  ‭100 East Fifth Street‬
   ‭Cincinnati, Ohio 45202-3988‬




                                                  ‭—‬‭10‬‭—‬
